Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 1 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 2 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 3 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 4 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 5 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 6 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 7 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 8 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 9 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 10 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 11 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 12 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 13 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 14 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 15 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 16 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 17 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 18 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 19 of 20
Case 19-10782   Doc 45-1   Filed 06/18/19 Entered 06/18/19 12:24:55   Desc Main
                            Document Page 20 of 20
